        Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document   Page 1 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  IN RE:
                                                                Case No. 15-41732
  INTERPHASE CORPORATION                                        Chapter 7

                                       Debtor

                          TRUSTEE’S FINAL APPLICATION FOR
                        COMPUTER EXPERT FOR PAYMENT OF FEES

YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS APPLICATION UNLESS A WRITTEN OBJECTION IS FILED WITH THE
CLERK OF THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING
WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY
SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


        COMES NOW Mark A. Weisbart, Chapter 7 Trustee (“Trustee”) in the above-numbered

bankruptcy case, and files this Final Application for Computer Expert for Payment of Fees and, in

support hereof, would show the Court the following:

        1.       On September 30, 2015, a voluntary petition under Chapter 7 of the Bankruptcy

Code was filed by the Debtor. Mark A. Weisbart is the duly appointed Trustee.

        2.       Trustee is the duly acting and appointed Chapter 7 Trustee in this case.

        3.       Pursuant to this Motion, Digital Discovery seeks fees totaling $24,510.41 and final

approval of all fees paid to Digital Discovery pursuant to prior applications totaling $71,500.00.

A copy of the current billing statements are attached hereto as Exhibit “A”.




Final Application for Computer Expert for Payment of Fees                                                          Page 1
        Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document   Page 2 of 12




        4.       The services performed by Digital Discovery included the on-site data extraction

and transfer of the Debtor’s electronic data from multiple servers and an SAP/UNX system which

housed most of the Debtor’s financial records.

        5.       Professional fees incurred by professionals, including computer experts, for a

trustee are subject to the standards set forth in the case of In Re: First Colonial Corp., 544 F.2d

1291, 1298-99 (5th Cir. 1977), cert. denied, 431 U.S. 904 (1977). Most of these factors, such as

(i) the novelty or undesirability of the case, (ii) preclusion of other employment (iii) time

limitations (iv) requisite skill required and (v) professional’s reputation and ability did not present

any unique circumstances or issues in this case. Two factors which are considered carefully are

the results obtained in the case and time spent by the applicant. The services performed by Digital

Discovery are reasonable and were necessary for the administration of this estate.

        WHEREFORE, PREMISES CONSIDERED, Trustee requests upon appropriate notice and

opportunity for hearing, this Court enter an Order approving the Application of Trustee’s

Computer Expert for Payment of Fees and grant Applicant such other and further relief to which

they are justly entitled.

        WHEREFORE, PREMISES CONSIDERED, Trustee prays that the Court enter an order

approving this Application and granting Trustee such other and further relief to which he is justly

entitled.




Final Application for Computer Expert for Payment of Fees                                                          Page 2
        Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document   Page 3 of 12




                                                                 Respectfully Submitted,

                                                                 /s/ Mark A. Weisbart
                                                                 Mark A. Weisbart
                                                                 Texas Bar No. 21102650
                                                                 THE LAW OFFICE OF MARK A. WEISBART
                                                                 12770 Coit Road, Suite 541
                                                                 Dallas, Texas 75251
                                                                 (972) 628-4903 Phone
                                                                 mark@weisbartlaw.net

                                                                 COUNSEL FOR CHAPTER 7 TRUSTEE




                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was served on the
parties listed on the attached mailing list either through the Court’s electronic notification system
as permitted by Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the Eastern
District of Texas or by first class mail, postage prepaid, on this 13th day of December, 2017.

                                                                 /s/ Mark A. Weisbart
                                                                 Mark A. Weisbart




Final Application for Computer Expert for Payment of Fees                                                          Page 3
           Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document   Page 4 of 12

  Digital Discovery
                                                                                                                 Invoice
  8131 LBJ Freeway, Suite 325
  Dallas, TX 75251
  972-774-1500                                                                                  Invoice #: 2522
                                                                                             Invoice Date: 2/29/2016
Bill To:


Law Offices of Mark Weisbart
12770 Coit Road, Ste. 541
Dallas, TX 75251
Attn: Mark Weisbart                                                       Terms               Rep                     Client

                                                                      Due on receipt          SPD                Interphase

                                Description                                            Hours/Qty         Rate            Amount
Hourly analyst charges over allotted amount to access the SAP system                           8.68       295.00          2,560.60
on the VM's and search for1099 data.




                                                                                       Subtotal                          $2,560.60

      Project #
                                                                                       Sales Tax (8.25%)                       $0.00
   20151010-WIC
                                                                                       Total                             $2,560.60

                                                                                       Payments/Credits                        $0.00

                                                                                       Balance Due                       $2,560.60




                                                         Exhibit "A"
           Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document   Page 5 of 12

  Digital Discovery
                                                                                                                 Invoice
  8131 LBJ Freeway, Suite 325
  Dallas, TX 75251
  972-774-1500                                                                                  Invoice #: 3128
                                                                                             Invoice Date: 5/31/2017
Bill To:


Law Offices of Mark Weisbart
12770 Coit Road, Ste. 541
Dallas, TX 75251
Attn: Mark Weisbart                                                       Terms               Rep                     Client

                                                                      Due on receipt          SPD                Interphase

                                Description                                            Hours/Qty         Rate            Amount
Analyst's hourly charges for searching of SAP data for receivable                              7.75       295.00          2,286.25
information as requested by Trustee.




                                                                                       Subtotal                          $2,286.25

      Project #
                                                                                       Sales Tax (8.25%)                       $0.00
   20151010-WIC
                                                                                       Total                             $2,286.25

                                                                                       Payments/Credits                        $0.00

                                                                                       Balance Due                       $2,286.25




                                                         Exhibit "A"
           Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document   Page 6 of 12

  Digital Discovery
                                                                                                                 Invoice
  8131 LBJ Freeway, Suite 325
  Dallas, TX 75251
  972-774-1500                                                                                  Invoice #: 3180
                                                                                             Invoice Date: 6/30/2017
Bill To:


Law Offices of Mark Weisbart
12770 Coit Road, Ste. 541
Dallas, TX 75251
Attn: Mark Weisbart                                                       Terms               Rep                     Client

                                                                      Due on receipt          SPD                Interphase

                                Description                                            Hours/Qty         Rate            Amount
Production of reports from SAP system for receivables outstanding.                             3.08       295.00               908.60T




                                                                                       Subtotal                            $908.60

      Project #
                                                                                       Sales Tax (8.25%)                       $74.96
   20151010-WIC
                                                                                       Total                               $983.56

                                                                                       Payments/Credits                         $0.00

                                                                                       Balance Due                         $983.56




                                                         Exhibit "A"
           Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document    Page 7 of 12

  Digital Discovery
                                                                                                                  Invoice
  8131 LBJ Freeway, Suite 325
  Dallas, TX 75251
  972-774-1500                                                                                  Invoice #: 3159
                                                                                             Invoice Date: 6/30/2017
Bill To:


Law Offices of Mark Weisbart
12770 Coit Road, Ste. 541
Dallas, TX 75251
Attn: Mark Weisbart                                                       Terms               Rep                      Client

                                                                      Due on receipt          SPD                 Interphase

                                Description                                            Hours/Qty          Rate            Amount
Rental and storage for virtual server based system (per month - July                                3    2,500.00          7,500.00
2017 thru Sept 2017).




                                                                                       Subtotal                           $7,500.00

      Project #
                                                                                       Sales Tax (8.25%)                        $0.00
   20151010-WIC
                                                                                       Total                              $7,500.00

                                                                                       Payments/Credits                         $0.00

                                                                                       Balance Due                        $7,500.00




                                                         Exhibit "A"
           Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document    Page 8 of 12

  Digital Discovery
                                                                                                                  Invoice
  8131 LBJ Freeway, Suite 325
  Dallas, TX 75251
  972-774-1500                                                                                  Invoice #: 3248
                                                                                             Invoice Date: 9/30/2017
Bill To:


Law Offices of Mark Weisbart
12770 Coit Road, Ste. 541
Dallas, TX 75251
Attn: Mark Weisbart                                                       Terms               Rep                      Client

                                                                      Due on receipt          SPD                 Interphase

                                Description                                            Hours/Qty          Rate            Amount
Rental and storage for virtual server based system (per month - Oct                                 3    2,500.00          7,500.00
2017 thru Dec 2017).




                                                                                       Subtotal                           $7,500.00

      Project #
                                                                                       Sales Tax (8.25%)                        $0.00
   20151010-WIC
                                                                                       Total                              $7,500.00

                                                                                       Payments/Credits                         $0.00

                                                                                       Balance Due                        $7,500.00




                                                         Exhibit "A"
           Case 15-41732   Doc 184   Filed 12/13/17   Entered 12/13/17 13:48:17   Desc Main Document    Page 9 of 12

  Digital Discovery
                                                                                                                  Invoice
  8131 LBJ Freeway, Suite 325
  Dallas, TX 75251
  972-774-1500                                                                                  Invoice #: 3311
                                                                                             Invoice Date: 11/28/2017
Bill To:


Law Offices of Mark Weisbart
12770 Coit Road, Ste. 541
Dallas, TX 75251
Attn: Mark Weisbart                                                       Terms               Rep                      Client

                                                                      Due on receipt          SPD                 Interphase

                                Description                                            Hours/Qty          Rate            Amount
Lease termination fee (ending as of 12/31/2017).                                                    1    2,500.00          2,500.00

Hourly charges for dismantling the server equipment, deletion of data                               4      295.00          1,180.00
and return of hardware to Paranet Solutions.




                                                                                       Subtotal                           $3,680.00

      Project #
                                                                                       Sales Tax (8.25%)                        $0.00
   20151010-WIC
                                                                                       Total                              $3,680.00

                                                                                       Payments/Credits                         $0.00

                                                                                       Balance Due                        $3,680.00




                                                         Exhibit "A"
                        Case 15-41732   Doc 184   Filed 12/13/17 Entered 12/13/17 13:48:17   Desc Main Document
Label Matrix for local noticing                      Alcatel-Lucent International                          Anydata Page 10 of 12
                                                                                                                   Corporation
0540-4                                               William Hagerman                                      5 Oldfield
Case 15-41732                                        1960 Lucent Lane                                      Irvine, CA 92618-2840
Eastern District of Texas                            Napeville, IL 60563-1594
Sherman
Wed Dec 13 13:45:33 CST 2017
Arrow Electronics Inc.                               Avnet, Inc.                                           B.E. Capital Management Fund LP
c/o NAC Risk Recovery                                5400 Prairie Stone Pkwy                               228 Park Avenue S #63787
9201 E. Dry Creek Road                               Hoffman Estates, IL 60192-3721                        New York, NY 10003-1502
Englewood, Co 80112-2818


Evan R. Baker                                        Bankruptcy Section MS A340                            CBT Technology Inc.
1601 Elm Street                                      Franchise Tax Board                                   Atrenne Computing Solutions
Suite 3000                                           P O Box 2952                                          10 Mupac Drive
Dallas, TX 75201-4757                                Sacramento, CA 95812-2952                             Brockton, MS 02301-5548


Shawn M. Christianson                                City of Carrollton                                    Comptroller of Public Accounts
Buchalter, A Professional Corporation                c/o Laurie Spindler Huffman                           c/o Office of the Attorney General
55 Second St., 17th Fl.                              Linebarger Goggan Blair & Sampson, LLP                Bankruptcy - Collections Division MC-008
San Francisco, CA 94105-3491                         2777 N Stemmons Freeway Suite 1000                    PO Box 12548
                                                     Dallas, TX 75207-2328                                 Austin TX 78711-2548
                                                                                                           ( 78711-2548
Computershare Trust Co. Inc.                         Denton County                                         Department Of Health and Human Services
100 University Ave, 8th Fl.                          c/o Lee Gordon                                        Jeffrey Grant
Toroonto, ON Msj241                                  P.O. Box 1269                                         7500 Security Blvd, Mail Stop WV-22-75
                                                     Round Rock, Texas 78680-1269                          Baltimore, MD 21244-1849


Digi-Key Corporation                                 Ernst And Young Societe D’Avocoats                    FedEx TechConnect, Inc.
PO Box 677                                           Tour First-TSA 14444                                  Attn: Revenue Recovery/Bankruptcy
Thief River Falls, MN 56701-0677                     Paris-La Defense, FR 92037                            3965 Airways Blvd. Module G.,3rd Floor
                                                                                                           Memphis,TN 38116-5017


Finnish Tax Administration                           Future Electronics                                    GECITS - Bankruptcy
Collection and Recovery Unit of                      c/o Diane Svendsen                                    P O Box 13708
Southern Finland                                     41 Main St.                                           Macon, GA 31208-3708
P.O. Box 6002                                        Bolton, MA 01740-1134
FI-0052-Vero Finland

GENBAND US LLC AND ITS SUBSIDIARIES                  (p)MICHAEL REED OR LEE GORDON                         Gregory B. Kalush
c/o Caroline R. Penninck, Esq.                       PO BOX 1269                                           2402 Danbury Dr.
3208 Fannin Lane                                     ROUND ROCK TX 78680-1269                              Colleyville, TX 76034-5424
Grapevine, Texas 76092
Email: cpenninck@gchub.com
Phone 76092-3328
Illinois Secretary of State                          Internal Revenue Service                              Interphase Corporation
Dept of Business Services                            P.O. Box 7346                                         4240 International Pkwy
350 Howlett Building                                 Philadelphia, PA 19101-7346                           Suite 105
Springfield, IL 62756-0001                                                                                 Carrollton, TX 75007-1985


James C. Poole, Jr.                                  Jennifer J. Kosharek                                  John J. Kane
8136 Westlakes Place                                 658 Point Loma Dr.                                    Kane Russell Coleman & Logan PC
Montgomery, AL 36117-5156                            Frisco, TX 75034-8892                                 1601 Elm St. Suite 3700
                                                                                                           Dallas, TX 75201-7207
                        Case 15-41732     Doc 184   Filed 12/13/17 Entered 12/13/17 13:48:17   Desc Main Document    Page 11 of 12
Level 3 Communications(Legal Dept. Bky)                Marlin Business Bank                                  Massachusetts  Department of Revenue
1025 Eldorado Blvd                                     300 Fellowship Rd.                                    Bankruptcy Unit
Broomfield Co 80021-8869                               Mt. Laurel, NJ 08054-1201                             P. O. Box 9564
                                                                                                             Boston, MA 02114-9564


Holland Neff O’Neil                                    Leo Oppenheimer                                       Caroline Penninck
Gardere Wynne Sewell LLP                               Reid Collins & Tsai LLP                               1445 Ross Avenue, Suite 3700
2021 McKinney Avenue                                   1601 Elm St., Ste. 4250                               Dallas, TX 75202-2755
Suite 1600                                             Dallas, TX 75201-7282
Dallas, TX 75201-4761

Rimini Street, Inc.                                    SAP America, Inc.                                     George C. Scherer
6601 Koll Center Parkway, Suite 300                    Brown & Connery, LLP                                  Law Office of Robert Luna, PC
Pleasanton, CA 94566-3127                              6N. Broad Street                                      4411 N. Central Expy.
                                                       c/o Donald Ludman, Esq                                Dallas, TX 75205-4210
                                                       Woodbury, NJ 08096-4635

Laurie A. Spindler                                     State Of California                                   State of Florida - Department of Revenue
Linebarger, Goggan, Blair & Sampson                    Bankruptcy Section MS A340                            Post Office Box 6668
2777 N. Stemmons Frwy Ste 1000                         Franchise Tax Board                                   Tallahassee, FL 32314-6668
Dallas, TX 75207-2328                                  PO Box 2952
                                                       Sacramento, CA 95812-2952

TTI, Inc.                                              US Trustee                                            Uusimaa ELY Centre
2441 Northeast Parkway                                 Office of the U.S. Trustee                            P.O. Box 54
Fort Worth, TX 76106-1816                              110 N. College Ave.                                   Fl-00521 Helsinki Finland
                                                       Suite 300
                                                       Tyler, TX 75702-7231

VL Capital Management LLC                              Washington State Department                           Mark A. Weisbart
145 Borinquen Place, Apt 30                            Of Labor & Industries                                 The Law Office of Mark A. Weisbart
Brooklyn, NY 11211-4671                                PO Box 44171                                          12770 Coit Road, Suite 541
                                                       Olympia, WA 98504-4171                                Dallas, TX 75251-1366


Yoram Solomon
2700 Big Creek Ct.
Plano, TX 75093-3362




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Lee Gordon
McCreary Veselka Bragg & Allen, PC
PO Box 1269
Round Rock, TX 78665




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                        Case 15-41732   Doc 184   Filed 12/13/17 Entered 12/13/17 13:48:17   Desc Main Document    Page 12 of 12
(d)Mark A. Weisbart                                  (d)Mark A. Weisbart                                   End of Label Matrix
The Law Office of Mark A. Weisbart                   The Law Office of Mark A. Weisbart                    Mailable recipients     48
12770 Coit Road, Suite 541                           12770 Coit Road, Suite 541                            Bypassed recipients      2
Dallas, TX 75251-1366                                Dallas, TX 75251-1366                                 Total                   50
